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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                 )    Criminal No. 21-260 ECT/TNL
                                          )
                            Plaintiff,    )
       v.                                 )    MOTION TO WITHDRAW AND FOR
KEVIN AGUILAR-MORENO,                     )    APPOINTMENT OF SUBSTITUTE
                                          )    COUNSEL
                          Defendant.      )


         Comes now Lisa Lopez, appointed counsel for Kevin Aguilar-Moreno, and hereby

moves the Court to allow counsel to withdraw from the defendant's representation and that

substitute counsel be appointed to represent the defendant in the above proceedings.

         Counsel for the defendant has accepted a position as the First Assistant in the

Hennepin County Public Defender's Office and will no longer be practicing in federal

court.

         Therefore, counsel requests that the Court grant this motion to withdraw and that

attorney Catherine Turner from the Criminal Justice Act Panel be appointed to represent

the defendant.



Dated: April 22, 2022                         Respectfully submitted,


                                              s/Lisa Lopez

                                              LISA LOPEZ
                                              Attorney ID No. 395791
                                              Attorney for Defendant
                                              107 U.S. Courthouse
                                              300 South Fourth Street
                                              Minneapolis, MN 55415
